        Case 2:21-cv-01304-ER Document 24 Filed 04/15/21 Page 1 of 2



                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Franklin University,               :     CIVIL ACTION
                                   :     NO. 21-1304
           Plaintiff               :
     v.                            :
                                   :
CGFNS International, Inc.,         :
                                   :
           Defendant               :


                                   ORDER

           AND NOW, this 14th day of April, 2021, for the reasons

stated in the accompanying Memorandum, it is hereby ORDERED as

follows:

           1. Franklin’s request for declaratory and injunctive

              relief as it pertains to CGFNS’s authority to

              implement its policy change at issue is GRANTED.

              Accordingly, CGFNS is prohibited from implementing a

              policy change requiring foreign nurses who completed

              their entry-level nursing program in a country not

              included in the relevant regulation (i.e., 8 C.F.R.

              § 212.15(h)(2)(iv) (2020)) to meet an English-

              language proficiency requirement before they can

              receive a certified statement;

           2. Franklin’s motion for a preliminary injunction (ECF

              No. 2) is DENIED as moot;1

1     The parties agreed to convert the hearing on the motion for a
preliminary injunction to a hearing on the merits under Federal Rule of Civil
        Case 2:21-cv-01304-ER Document 24 Filed 04/15/21 Page 2 of 2



           3. Franklin’s request for declaratory and injunctive

              relief as it pertains to compelling CGFNS to issue

              certified statements to graduates of Franklin’s RN-

              BSN program is DISMISSED without prejudice; and

           4. A status and scheduling conference will be scheduled

              by the Court at a future date to determine how to

              proceed. A separate order will issue.

           AND IT IS SO ORDERED.



                             __________________________
                             EDUARDO C. ROBRENO, J.




Procedure 65(a)(2) as to Franklin’s request for injunctive and declaratory
relief.
